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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                    NO. 4:14CR00010-09 JLH

IVORY LAMONT JOHNSON                                                               DEFENDANT

                                            ORDER

       On April 7, 2014, United States Magistrate Judge Beth Deere appointed CJA Panel Attorney

Steven R. Davis to represent defendant Ivory Lamont Johnson in the above styled matter. Attorney

Mark F. Hampton filed an entry of appearance as retained counsel on April 14, 2014.

       IT IS HEREBY ORDERED that Mark F. Hampton is hereby substituted as counsel of record

for defendant Ivory Lamont Johnson, and Steven R. Davis is relieved from any further representation

of defendant in this matter.

       IT IS SO ORDERED this 22nd day of April, 2014.




                                                     ________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
